Case 4:21-cv-02154-PJH Document 1-2 Filed 03/26/21 Page 1 of 19




               EXHIBIT A
         Case 4:21-cv-02154-PJH Document 1-2 Filed 03/26/21 Page 2 of 19




                           UNITED STATES OF AMERICA
                                    Before the
                      SECURITIES AND EXCHANGE COMMISSION

SECURITIES ACT OF 1933
Release No. 9362 / September 18, 2012

SECURITIES EXCHANGE ACT OF 1934
Release No. 67878 / September 18, 2012

INVESTMENT ADVISERS ACT OF 1940
Release No. 3467 / September 18, 2012

ADMINISTRATIVE PROCEEDING
File No. 3-15031

                                               ORDER INSTITUTING ADMINISTRATIVE
In the Matter of                               AND CEASE-AND-DESIST PROCEEDINGS
                                               PURSUANT TO SECTION 8A OF THE
     ADVANCED EQUITIES, INC.,                  SECURITIES ACT OF 1933, SECTION 15(b)
     DWIGHT O. BADGER, AND                     OF THE SECURITIES EXCHANGE ACT OF
     KEITH G. DAUBENSPECK,                     1934 AND SECTIONS 203(e) AND 203(f) OF
                                               THE INVESTMENT ADVISERS ACT OF
Respondents.                                   1940, MAKING FINDINGS, AND IMPOSING
                                               REMEDIAL SANCTIONS AND A CEASE-
                                               AND-DESIST ORDER

                                                 I.

         The Securities and Exchange Commission (“Commission”) deems it appropriate and in the
public interest that public administrative and cease-and-desist proceedings be, and hereby are,
instituted pursuant to Section 8A of the Securities Act of 1933 (“Securities Act”), Section 15(b) of
the Securities Exchange Act of 1934 (“Exchange Act”) and Sections 203(e) and 203(f) of the
Investment Advisers Act of 1940 (“Advisers Act”) against Advanced Equities, Inc., Dwight O.
Badger and Keith G. Daubenspeck (“Respondents”).

                                                 II.

        In anticipation of the institution of these proceedings, the Respondents have submitted
Offers of Settlement (the “Offers”) which the Commission has determined to accept. Solely for
the purpose of these proceedings, and any other proceedings brought by or on behalf of the
Commission, or to which the Commission is a party, and without admitting or denying the findings
herein, except as to the Commission’s jurisdiction over them and the subject matter of these
proceedings, which are admitted, Respondents consent to the entry of this Order Instituting
Administrative and Cease-and-Desist Proceedings Pursuant to Section 8A of the Securities Act of
1933, Section 15(b) of the Securities Exchange Act of 1934 and Sections 203(e) and 203(f) of the
            Case 4:21-cv-02154-PJH Document 1-2 Filed 03/26/21 Page 3 of 19




Investment Advisers Act of 1940, Making Findings, and Imposing Remedial Sanctions and a
Cease-and-Desist Order (“Order”), as set forth below.

                                                    III.

          On the basis of this Order and the Respondents’ Offers, the Commission finds 1 that:

                                                Summary

             1.     This matter involves misstatements and omissions and supervisory failures during a
    $150 million late stage private equity offering in 2009 and a follow-up offering in 2010 by
    registered broker-dealer and investment adviser Advanced Equities, Inc. (“Advanced Equities”)
    on behalf of a non-public alternative energy company located in the Silicon Valley region of
    California (“Company A”). During the 2009 offering, Company A was in “stealth mode” and
    released very little information about itself. Dwight O. Badger (“Badger”), one of Advanced
    Equities’ registered principals, led Advanced Equities’ sales efforts for the offering and personally
    conducted numerous sales calls with investors and Advanced Equities’ registered representatives
    (whom it called “brokers”). Badger also held five internal sales calls with Advanced Equities’
    brokers. During both the internal and external sales calls, Badger made several significant
    misstatements about Company A’s finances, including, among other things: (a) misstating that
    Company A had order backlogs in excess of $2 billion, when in fact Company A’s actual backlog
    ranged between approximately $10 million and $42 million; (b) misstating that the U.S.
    Department of Energy had already granted Company A a loan of between $250 million and $300
    million, when in fact Company A had just recently applied for a $96.8 million loan; and (c)
    misstating that Company A had a $1 billion order from a national grocery store chain, when in
    fact the grocery store chain only had entered into an order for $2 million and signed a non-binding
    letter of intent to purchase additional energy in the future. In addition, Advanced Equities’ other
    registered principal and Badger’s supervisor, Keith G. Daubenspeck (“Daubenspeck”), failed to
    respond to red flags that indicated that Badger and certain of Advanced Equities’ other brokers
    were making misstatements to investors and thus, failed reasonably to supervise with a view
    toward preventing and detecting their violations of the federal securities laws.

                                                  Respondents

             2.   Advanced Equities, Inc., is an Indiana corporation with headquarters in Chicago,
    Illinois. Advanced Equities has been registered with the Commission as a broker-dealer pursuant
    to Section 15 of the Exchange Act since 1993 and as an investment adviser pursuant to Section
    203 of the Advisers Act since 2007. It currently employs more than 80 registered representatives
    (whom it calls “brokers”) in its Chicago, Illinois headquarters and its branch offices in San


1
 The findings herein are made pursuant to Respondents’ Offers of Settlement and are not
binding on any other person or entity in this or any other proceeding.




                                                     2
         Case 4:21-cv-02154-PJH Document 1-2 Filed 03/26/21 Page 4 of 19




Francisco, California and New York, New York. It is a wholly-owned subsidiary of Advanced
Equities Financial Corporation.

        3.      Dwight O. Badger, age 42, resides in Lake Forest, Illinois. Badger is a co-founder
and, until August 6, 2012, was the registered principal of Advanced Equities and the president and
chief executive officer of its parent, Advanced Equities Financial Corporation, of which he owned
approximately 8%. Badger has been in the securities industry since 1989 and at all relevant times
has held the following FINRA licenses: General Securities Representative (Series 7), General
Securities Principal (Series 24) and Uniform Securities Agent State Law (Series 63).

         4.     Keith G. Daubenspeck, age 49, resides in Chicago, Illinois. Daubenspeck is a co-
founder and registered principal of Advanced Equities and is the chairman of the board of directors
of its parent, Advanced Equities Financial Corporation, of which he owns approximately 11%.
Daubenspeck has been in the securities industry since 1986 and at all relevant times has held the
following FINRA licenses: General Securities Representative (Series 7), General Securities
Principal (Series 24) and Uniform Securities Agent State Law (Series 63).

                                         Other Relevant Entities

        5.       “Company A” is a private Delaware corporation with headquarters and
manufacturing facilities in the Silicon Valley region of California. Company A manufactures a
device that uses proprietary technology to produce power on a clean and efficient basis and that,
during the relevant time period, sold for approximately $1 million with a recommended
maintenance contract. During 2009, Company A operated in “stealth mode” meaning that it
provided scant information to the public about its finances, operations or technology. In February
2010, Company A emerged from “stealth mode” and publicly launched its technology. Company A
is backed by several leading venture capital firms. Company A has never registered any class of
securities with the Commission.

        6.       Advanced Equities Greentech III Investments, LLC (“Greentech III”) is a Delaware
limited liability company established on January 23, 2009 by Advanced Equities to purchase and
hold shares of Company A on behalf of certain customers who were accredited investors.
Greentech III is not registered with the Commission and it has never registered any class of
securities with the Commission.

        7.       Advanced Equities Greentech IV Investments, LLC (“Greentech IV”) is a Delaware
limited liability company established on January 23, 2009 by Advanced Equities to purchase and
hold shares of Company A on behalf of certain customers who were qualified purchasers.
Greentech IV is not registered with the Commission and it has never registered any class of
securities with the Commission.

                                               Background

         8.     In 2006, after Advanced Equities completed an earlier private equity offering on its
behalf, Company A named Badger and Daubenspeck as observers to its board of directors. As a
result, Badger and Daubenspeck were permitted to attend Company A’s board of director meetings

                                                 3
         Case 4:21-cv-02154-PJH Document 1-2 Filed 03/26/21 Page 5 of 19




and to hear and view confidential information about Company A’s finances, its current and
prospective customers, its technology and its future plans.

        9.      Badger and Daubenspeck often attended Company A’s board meetings either
separately or together. Badger and Daubenspeck both attended Company A’s fourth quarter 2008
board meeting on December 4, 2008 and its first quarter 2009 board meeting on March 3, 2009.

        10.     During Company A’s December 2008 board meeting, Badger and Daubenspeck
made a presentation to the board proposing to lead the company’s $150 million “Series F”
offering. The purpose of the offering was to provide Company A with working capital and a
contribution to a proposed Power Purchase Agreement (“PPA”) company through which Company
A would be able to sell electricity without requiring its customers to purchase the company’s
proprietary hardware. At the time of their presentation, Badger and Daubenspeck were aware of
Company A’s planned uses for the funds raised through the offering.

         11.    At the time of Badger and Daubenspeck’s presentation and throughout all of 2009,
Company A was in “stealth mode,” meaning that it provided little information to the public about
its finances, operations or technology.

        12.      As part of their presentation, Badger and Daubenspeck told Company A that
Advanced Equities hoped to complete the Series F offering during the month of January 2009 by
raising all of the funds from a small number of high net-worth investors, each of whom could
invest at least $20 million. They also agreed that the offering would require very little effort from
Company A and would not disrupt Company A’s business.

        13.    Advanced Equities and Company A reached an agreement in late December 2008
or early January 2009 to set the pre-money valuation of the Series F offering at $1.45 billion,
meaning that the cost of each share of Company A stock purchased during the offering was $18.52.

       14.     In early January 2009, Advanced Equities began soliciting investors for direct
investments in Company A.

       15.      By at least mid-January 2009, however, Advanced Equities, Badger and
Daubenspeck realized that they needed to extend the timing of the offering and solicit investments
of smaller dollar amounts from more potential investors in order to raise the entire $150 million.

          16.   Because Company A did not accept direct investments of less than $2 million,
Advanced Equities established two limited liability companies (Greentech III and Greentech IV)
on January 23, 2009 through which accredited investors and qualified purchasers could invest as
little as $25,000 in Company A. Greentech III held investments from accredited investors and
Greentech IV held investments from qualified purchasers.

       17.     As a condition to raising funds through Greentech III and Greentech IV, Advanced
Equities, Badger and Daubenspeck agreed that Company A would not need to increase its
involvement in the sales process or speak directly with any investors who indirectly invested in
Company A through the Greentech funds.

                                                  4
         Case 4:21-cv-02154-PJH Document 1-2 Filed 03/26/21 Page 6 of 19




        18.     Instead, Company A only agreed to meet or speak with investors who were willing
to make direct investments of $2 million or more. As a result, Advanced Equities was the primary
source of information about Company A and the offering for most of the firm’s brokers and for the
investors in Greentech III and Greentech IV.

        19.      Consistent with its “stealth mode” status, Company A expected Advanced Equities
to focus its sales pitches on the promise of Company A’s technology, management team and
advisers and the progress it had made in its manufacturing process. Company A placed strict
limitations on the amount and type of information that Advanced Equities could provide to
investors, including requesting that Advanced Equities provide only very general information
about Company A’s finances and not share customer names or other proprietary information with
investors in Greentech III and Greentech IV.

        20.       Company A also provided Advanced Equities with a two-page investment
overview for potential investors in Greentech III and Greentech IV. The overview did not specify
a specific dollar amount of order backlog and instead stated that Company A had a “significant
backlog of signed contracts and LOIs [Letters of Intent].”

        21.     Unlike Advanced Equities’ typical offerings during which its brokers passed
information directly from the particular companies to investors, Badger took full control of the
sales campaign for the 2009 offering on behalf of Company A and instructed Advanced Equities’
brokers to have their customers call into presentations led by Badger so he could personally and
directly present information about Company A to them.

        22.     Between approximately January 5 and March 27, 2009, Badger led at least 49
external investor presentations and at least five internal sales calls with Advanced Equities’ brokers
about the Company A offering.

       23.     Daubenspeck participated in two of the internal sales calls with Advanced Equities’
brokers on February 2 and February 24, 2009, but did not participate in any of the external investor
presentations.

        24.      In an email to one of Company A’s board members on January 31, 2009, Badger
described his conduct in the offerings as: “I have spoken to all of our prior investors personally. I
have had over 200 one on one calls with investors myself. Every minute of my day for 3 and ½
weeks has been telling this story. All under NDA [non-disclosure agreement] with no financials,
no info, just the basic story . . .”

       25.    The internal sales calls and external sales presentations were the primary source of
information about Company A and the offering for most of Advanced Equities’ brokers.

        26.     Daubenspeck and a small number of Advanced Equities’ brokers and investment
bankers (along with some of their direct investor customers) also traveled to Company A’s
headquarters for a presentation by Company A’s CEO and CFO on January 13, 2009. As part of
the presentation, Company A told the attendees about its current order backlog, including contracts
for 17 systems from six customers (approximately $17 million). Company A also told the

                                                  5
         Case 4:21-cv-02154-PJH Document 1-2 Filed 03/26/21 Page 7 of 19




attendees that it had conditional purchase orders for 15 systems from three customers
(approximately $15 million), a Letter of Intent for 10 systems from one customer (approximately
$10 million) and Letters of Intent for its proposed PPA company of $1.25 billion.

       27.      On or around January 14, 2009, when they returned to Chicago from the
presentation at Company A’s headquarters, Daubenspeck and the investment bankers provided
Badger with information about the presentation.

       28.     Ultimately, between early January and late March 2009, Advanced Equities raised
approximately $122 million from direct investors and the approximately 609 investors in
Greentech III and Greentech IV. So far, there has been no liquidity event for this investment.

                                    Misstatements About Company A

        29.      Despite his up-to-date knowledge about Company A’s operations and sales from
participating in board of director meetings and the agreement to refrain from disclosing financial or
other proprietary information during the offering, Badger made several misstatements about
Company A’s order backlog, customers and its application for a loan from the DOE during internal
sales calls, external sales presentations and other communications with Advanced Equities’ brokers
and investors.

       30.     On January 20, 2009, in response to an email from brokers in Advanced Equities’
New York office about an investor’s concerns about the limited financial information contained in
Company A’s investor overview, Badger stated that Company A has “2,000 [units] from the CIA.”
The sale of 2,000 units would have been huge. An order that size would have generated
approximately $2 billion in revenue for Company A. In reality, however, Company A did not have
any orders, contracts or agreements with the CIA at that time.

       February 2, 2009 Internal Sales Call

       31.     On February 2, 2009, Badger and Daubenspeck presented information to Advanced
Equities’ brokers during an internal sales call.

        32.     During the call, Badger misstated that Company A’s projected revenue of $2 billion
“is currently under contract and backordered.” In reality, Company A only had between $10
million and $42 million (10 to 42 individual hardware units) under contract as order backlog at that
time.

        33.    During the February 2, 2009 call, Daubenspeck remained silent during Badger’s
misstatements and also misstated that Company A’s CEO had shown him emails with a “$2 billion
order from the CIA, which is not even in [Company A’s] numbers.” In reality, Company A did not
have any order or other agreement from the CIA for any dollar amount at that time.




                                                 6
        Case 4:21-cv-02154-PJH Document 1-2 Filed 03/26/21 Page 8 of 19




       February 24, 2009 Internal Sales Call

      34.    On February 24, 2009, Badger and Daubenspeck presented information to
Advanced Equities’ brokers during an internal sales call.

       35.    During the call, Badger made the following misstatements:

              a.       Badger misstated that Company A had a “$1 billion contract” with a well-
              known national grocery store chain that he referred to by name. In reality, the
              national grocery store chain only had entered into a contract for two systems
              (approximately $2 million) and had expressed its interest in purchasing energy in
              the future through Company A’s proposed PPA company through a non-binding
              letter of intent.

              b.       Badger misstated that Company A “was getting funded by the Department
              of Energy at 50 basis points over Treasuries” with “$300 million of revenue just
              from the Department of Energy loan guarantee.” In reality, Company A had
              submitted an application in February 2009 for a $96.8 million loan from the
              Department of Energy, but had not received any funding yet or even an indication
              that its application would be granted.

        36.    During the February 24, 2009 call, Daubenspeck remained silent during Badger’s
misstatements.

       March 9, 2009 Internal Sales Call

       37.      After attending Company A’s March 3, 2009 board meeting, Badger presented
information to Advanced Equities’ brokers during an internal sales call.

       38.    During the call, Badger misstated again that Company A was “getting $300 million
from the Department of Energy” when, in reality, Company A had not yet received any funding
from the Department of Energy and had only applied for a $96.8 million loan.

       March 23, 2009 Internal Sales Call

       39.    On March 23, 2009, approximately one week before the Series F offering ended,
Badger presented information to Advanced Equities’ brokers on another internal sales call.

        40.    During the call, Badger misstated that Company A had “over $1 billion in backlog
from [a well-known national grocery store chain].” In reality, Company A did not have $1 billion
in backlog from the national grocery store chain at that time.




                                                7
        Case 4:21-cv-02154-PJH Document 1-2 Filed 03/26/21 Page 9 of 19




                         Misstatements To Investors In The Greentech Funds

        41.    During investor sales presentations between early January and late March 2009,
Badger repeated certain of the misstatements that he had made during the internal sales calls.
Among other things, Badger, and through him Advanced Equities, made the following
misstatements:

               a.       Badger told certain investors that Company A had an order backlog of $2
               billion to $3 billion.

               b.      Badger told certain investors that Company A had a $1 billion contract with
               a well-known national grocery store chain.

               c.      Badger told certain investors that Company A was getting a loan of $270
               million or that it had applied for a $300 million loan from the Department of
               Energy.

               d.     Badger told certain investors that Company A had a $2 billion order from
               the CIA.

        42.    After hearing the misstatements from Badger, certain of Advanced Equities’
brokers, including certain members of Advanced Equities’ investment banking team and the
broker-in-charge of Advanced Equities’ New York branch office, repeated these misstatements to
investors in email messages and telephone calls. Among other things, the brokers told investors
that Company A had $2 billion or more in order backlog.

       43.      Certain of these brokers, including certain members of Advanced Equities’
investment banking team and the broker-in-charge of Advanced Equities’ New York branch office,
were among the brokers who traveled to Company A’s headquarters with Daubenspeck on January
13, 2009 and received additional information about Company A. As a result, these brokers knew
or should have known that Badger’s misstatements about Company A’s backlog, grocery chain
contract and its Department of Energy loan application were not true.

                                    Badger’s Misstatements In 2010

        44.    In early 2010, Advanced Equities began soliciting prior investors to make
additional investments in Company A through ten of Advanced Equities’ limited liability
companies, including Greentech III and Greentech IV, under the hope that Company A would
accept the additional funds as an investment.

        45.    Between approximately February 2010 and March 2010, Advanced Equities raised
an additional $47 million from prior investors and sent the money to Company A as an additional
investment at the $1.45 billion valuation.

       46.     Badger led Advanced Equities’ sales efforts and conducted several sales
presentations with existing and potential investors, including an “update” call on March 5, 2010.

                                                 8
        Case 4:21-cv-02154-PJH Document 1-2 Filed 03/26/21 Page 10 of 19




       47.      During the March 5, 2010 call, Badger misstated that Company A had applied for a
$400 million loan from the Department of Energy and that the Department of Energy had approved
Company A to “draw the first hundred million” on the loan. In reality, Company A only had
applied for a $96.8 million loan from the Department of Energy and never had the ability to draw
down any amount of the loan.

       48.   Ultimately, Company A declined to accept the $47 million and returned the money
to Advanced Equities and the investors in late March 2010.

                           Daubenspeck’s Failure To Reasonably Supervise

       49.     Daubenspeck supervised Badger and had the ability and authority to affect Badger’s
conduct, including hiring and firing authority. Daubenspeck also had final approval for all
management decisions within Advanced Equities.

       50.    In addition to Badger, Daubenspeck directly supervised Advanced Equities’
investment bankers, all of whom were also brokers, and the broker-in-charge of Advanced
Equities’ New York office.

       51.     During the 2009 offering for Company A, Daubenspeck was the Advanced Equities
employee primarily responsible for obtaining information from Company A, supervising the
investment bankers in conducting due diligence for the offering and sharing information with
Badger for use with Advanced Equities’ brokers and investors.

        52.     Daubenspeck learned specific information about Company A during his attendance
at Company A’s December 4, 2008 and March 3, 2009 board of director meetings and the
presentation at Company A’s headquarters on January 13, 2009 and in other conversations with
Company A’s management and directors. As a result, Daubenspeck knew or should have known
the correct amount of Company A’s order backlog, the status and amount of its application for a
loan from the Department of Energy and the names and amounts of customer orders.

        53.     On February 2, 2009, Daubenspeck participated in an internal sales call with
Advanced Equities’ brokers. During the course of the call, Daubenspeck remained silent after he
heard Badger misstate that Company A’s $2 billion in projected revenue was “under contract and
backordered.” Despite the red flags raised by Badger’s misstatements during the internal call and
the obvious risk that Badger’s false information would be repeated to investors by Badger and
Advanced Equities’ brokers, Daubenspeck did not take reasonable steps to correct Badger’s
misstatements. Instead, through his silence, Daubenspeck failed reasonably to prevent Badger
from conveying false information to the brokers and from continuing to make misstatements in
future calls with Advanced Equities’ brokers and investors.

        54.    Daubenspeck not only knew or should have known of Badger’s misstatements on
the February 2, 2009 call, but also helped add to the misinformation about Company A’s order
backlog by stating on the call that Company A’s CEO had shown him emails with a “$2 billion
order from the CIA, which is not even in [Company A’s] numbers.”



                                                9
        Case 4:21-cv-02154-PJH Document 1-2 Filed 03/26/21 Page 11 of 19




        55.       On February 24, 2009, Daubenspeck participated in another internal sales call with
Advanced Equities’ brokers. During the course of the call, Daubenspeck remained silent after he
heard Badger misstate that Company A had a $1 billion contract with the well-known national
grocery store chain and that Company A “was getting funded by the Department of Energy at 50
basis points over Treasuries” with “$300 million of revenue just from the Department of Energy
loan guarantee.” Despite the red flags raised by Badger’s misstatements during the internal call
and the obvious risk that Badger’s false information would be repeated to investors by Badger and
Advanced Equities’ brokers, Daubenspeck did not take reasonable steps to correct Badger’s
misstatements. Instead, through his silence, Daubenspeck failed reasonably to prevent Badger
from conveying false information to the brokers and from continuing to make misstatements in
future calls with Advanced Equities’ brokers and investors.

         56.     After hearing the misstatements on the two internal sales calls, Daubenspeck also
failed to take reasonable steps to follow up with the investment bankers and the broker-in-charge
of Advanced Equities’ New York office to ensure that they did not repeat to investors Badger’s
misstatements or Daubenspeck’s statement about the $2 billion CIA order. Instead, through his
silence and failure to take reasonable steps in response to the red flags raised by Badger’s conduct,
Daubenspeck failed reasonably to prevent at least one of Advanced Equities’ investment bankers
and the broker-in-charge of the New York office from misstating the amount of Company A’s
backlog in communications with investors.

        57.     Had Daubenspeck taken reasonable steps in response to the red flags, it is likely
that he could have prevented and detected Badger’s and certain of the other brokers’ violations of
the antifraud provisions.

                                                 Violations

        58.    As a result of the conduct described above, Badger willfully 2 violated Sections
17(a)(2) and 17(a)(3) of the Securities Act which prohibit fraudulent conduct in the offer or sale of
securities.

       59.      As a result of the conduct described above, Advanced Equities and certain of
Advanced Equities’ brokers willfully violated Sections 17(a)(2) and 17(a)(3) of the Securities Act
which prohibit fraudulent conduct in the offer or sale of securities.

        60.      Section 15(b)(4)(E) of the Exchange Act allows for the imposition of a sanction
against a broker or dealer who “has failed reasonably to supervise, with a view to preventing
violations of the [federal securities laws], another person who commits such a violation, if such
other person is subject to his supervision.” Section 15(b)(6) incorporates by reference Section
15(b)(4)(E) and allows for the imposition of sanctions against persons associated with a broker or
dealer for failing reasonably to supervise. The Commission has repeatedly emphasized that the
duty to supervise is a critical component of the federal regulatory scheme. See, e.g., Merrill

2
 A willful violation of the securities laws means merely “‘that the person charged with the duty
knows what he is doing.’” Wonsover v. SEC, 205 F.3d 408, 414 (D.C. Cir. 2000) (quoting
Hughes v. SEC, 174 F.2d 969, 977 (D.C. Cir. 1949)).
                                                 10
        Case 4:21-cv-02154-PJH Document 1-2 Filed 03/26/21 Page 12 of 19




Lynch, Pierce, Fenner & Smith Inc., Exchange Act Rel. No. 63760 (Jan. 25, 2011) (citing Smith
Barney, Harris Upham & Co. Inc., et al., Exchange Act Rel. No. 21813 (March 5, 1985)).

        61.    As a result of the conduct described above, Daubenspeck failed reasonably to
supervise Badger and certain other brokers with a view to detecting and preventing Badger’s and
the other brokers’ willful violations of Sections 17(a)(2) and 17(a)(3) of the Securities Act.

                                              Undertakings

       62.     Advanced Equities undertakes to:

               a.      Retain, within 60 days of the date of the Order, at its own expense, the
               services of an Independent Consultant not unacceptable to the staff of the Division
               of Enforcement of the Commission (the “Commission staff”), to: (i) review the
               effectiveness of Advanced Equities’ policies and procedures regarding sales
               practices, due diligence practices and supervisory procedures; (ii) review Advanced
               Equities’ systems for implementing its policies and procedures; and (iii) make
               recommendations concerning these policies and procedures with a view to assuring
               compliance with the federal securities laws.

               b.      No later than ten (10) days following the date of the Independent
               Consultant’s engagement, provide to the Commission staff a copy of the
               engagement letter detailing the Independent Consultant’s responsibilities pursuant
               to paragraph 62.a above.

               c.      Require the Independent Consultant, at the conclusion of the review, which
               in no event shall be more than 120 days after the entry of the Order, to submit a
               report to Advanced Equities and the Commission staff. The report shall address the
               issues described in the Order and shall include a detailed description of the review
               performed, the conclusions reached, the Independent Consultant’s
               recommendations for changes or improvements to the policies, procedures and
               practices of Advanced Equities and a procedure for implementing the
               recommended changes or improvements to such policies, procedures or practices.

               d.      Adopt, amend, implement and maintain all policies, procedures, and
               practices recommended in the report of the Independent Consultant within 180 days
               of the date of entry of the Order. As to any of the Independent Consultant’s
               recommendations about which Advanced Equities and the Independent Consultant
               do not agree, such parties shall attempt in good faith to reach agreement within 210
               days of the date of the entry of the Order. In the event that Advanced Equities and
               the Independent Consultant are unable to agree on an alternative proposal,
               Advanced Equities will abide by the determinations of the Independent Consultant
               and adopt those recommendations deemed appropriate by the Independent
               Consultant.




                                                11
Case 4:21-cv-02154-PJH Document 1-2 Filed 03/26/21 Page 13 of 19




      e.      Retain the Independent Consultant to conduct a follow up review and submit
      a written Final Report to Advanced Equities and the Commission staff no later than
      one year after the date of entry of this Order. In the Final Report, the Independent
      Consultant shall address Advanced Equities’ compliance with this Order, its
      implementation of the policies and procedures adopted under this Order and make
      any further recommendations he or she deems necessary. Within 30 days of its
      receipt of the Independent Consultant’s Final Report, Advanced Equities shall adopt
      the recommendations contained in the Final Report.

      f.     Cooperate fully with the Independent Consultant in its review, including
      making such information and documents available as the Independent Consultant
      may reasonably request, and by permitting and requiring Advanced Equities’
      employees and agents to supply such information and documents as the
      Independent Consultant may reasonably request.

      g.       In order to ensure the independence of the Independent Consultant,
      Advanced Equities: (i) shall not have the authority to terminate the Independent
      Consultant without the prior written approval of the Commission staff; and (ii) shall
      compensate the Independent Consultant for services rendered pursuant to the Order
      at their reasonable and customary rates.

      h.       Require the Independent Consultant to enter into an agreement that provides
      that for the period of engagement and for a period of two years from completion of
      the engagement, the Independent Consultant shall not enter into any employment,
      consultant, attorney-client, auditing or other professional relationship with
      Advanced Equities, or any of its present or former affiliates, directors, officers,
      employees, or agents acting in their capacity. The agreement will also provide that
      the Independent Consultant will require that any firm with which he or she is
      affiliated or of which he or she is a member, and any person engaged to assist the
      Independent Consultant in performance of his or her duties under this Order shall
      not, without prior written consent of the Commission staff, enter into any
      employment, consultant, attorney-client, auditing or other professional relationship
      with Advanced Equities, or any of its present or former affiliates, directors, officers,
      employees, or agents acting in their capacity as such for the period of the
      engagement and for a period of two years after the engagement.

      i.     Advanced Equities may apply to the Commission staff for an extension of
      the deadlines described above before their expiration, and upon a showing of good
      cause by Advanced Equities, the Commission staff may in its sole discretion, grant
      such extensions for whatever time period it deems appropriate.

63.   Advanced Equities further undertakes to:

      a.     Deliver, within 30 days of the entry of this Order, by certified U.S. mail, a
      copy of the Commission’s Order in this matter to each customer of Advanced



                                        12
Case 4:21-cv-02154-PJH Document 1-2 Filed 03/26/21 Page 14 of 19




     Equities who invested in Company A at any time between January 1, 2009 and
     December 31, 2010.

     b.      Implement, within 120 days of the entry of this Order, a new, internal
     training program covering sales practices and provide the Commission staff with a
     detailed description of the program within 5 days after its adoption.

     c.     Use its best efforts to locate purchasers for any of its customers who
     purchased the securities of Company A through Greentech III or Greentech IV in
     2009 and who wish to sell their securities at a price equivalent to their original
     purchase price.

     d.      Post information concerning all of its future offerings on its password-
     protected Venture Gateway system or any successor systems. Advanced Equities
     will obtain approval from the chief executive officer or chief financial officer of
     each company for which Advanced Equities is conducting an offering of all
     information posted on the Venture Gateway system, including all financial
     information received by Advanced Equities. All presentations and other information
     posted on the Venture Gateway system will be maintained and preserved in
     accordance with the requirements of Rule 17a-4 under the Exchange Act for at least
     four (4) years.

     e.       Cooperate fully with the Commission in any and all investigations,
     litigations or other proceedings relating to or arising from the matters described in
     the Order. In connection with such cooperation, Advanced Equities has undertaken:

            1.      To produce, without service of a notice or subpoena, any and all
            documents and other information reasonably requested by the Commission
            staff, with a custodian declaration as to their authenticity, if requested;

            2.      To use its best efforts to cause Advanced Equities’ current and
            former employees to be interviewed by the Commission staff at such times
            and places as the staff reasonably may direct. Live interviews on one
            week’s notice or telephone interviews on 72 hours’ notice, at the option of
            the option of the staff, shall be deemed to be reasonable;

            3.     To use its best efforts to cause Advanced Equities’ employees to
            appear and testify truthfully and completely without service of a notice or
            subpoena in such investigations, depositions, hearings or trials as may be
            reasonably requested by the Commission staff; and

            4.      In connection with any interviews of Advanced Equities’ employees
            to be conducted pursuant to this undertaking, requests for such interviews
            may be provided by the Commission staff to its General Counsel, Advanced
            Equities, Inc., 311 South Wacker Drive, Suite 6150, Chicago, Illinois
            60606, or such other counsel that may be substituted by Advanced Equities.

                                      13
        Case 4:21-cv-02154-PJH Document 1-2 Filed 03/26/21 Page 15 of 19




        64.     Advanced Equities shall certify, in writing, compliance with the undertakings set
forth above. The certification shall identify the undertakings, provide written evidence of
compliance in the form of a narrative, and be supported by exhibits sufficient to demonstrate
compliance. The Commission staff may make reasonable requests for further evidence of
compliance, and Respondent agrees to provide such evidence. The certification and supporting
material shall be submitted to Anne C. McKinley, Assistant Regional Director, Chicago Regional
Office, 175 W. Jackson Blvd., Suite 900, Chicago, Illinois 60604, with a copy to the Office of
Chief Counsel of the Division of Enforcement, 100 F Street, NE, Washington, DC 20549 no later
than sixty (60) days from the date of the completion of the undertakings.

       65.     Daubenspeck shall provide to the Commission, within 15 days after the end of the
twelve month suspension period described below, an affidavit that he has complied fully with the
sanctions described in Section IV below.

        66.     Daubenspeck shall cooperate fully with the Commission in any and all
investigations, litigations or other proceedings relating to or arising from the matters described in
the Order. In connection with such cooperation, Daubenspeck has undertaken:

               1.     To produce, without service of a notice or subpoena, any and all documents
               and other information reasonably requested by the Commission staff, with a
               custodian declaration as to their authenticity, if requested;

               2.      To appear and be interviewed by the Commission staff at such times and
               places as the staff reasonably may direct. Live interviews on one week’s notice or
               telephone interviews on 72 hours’ notice, at the option of the staff, shall be deemed
               to be reasonable;

               3.     To appear and testify truthfully and completely without service of a notice
               or subpoena in such investigations, depositions, hearings or trials as may be
               reasonably requested by the Commission’s staff; and

               4.      In connection with any interviews or testimony to be conducted pursuant to
               this undertaking, requests for such interviews or testimony may be provided by the
               Commission staff to his attorney, Steven S. Scholes, McDermott, Will & Emery,
               227 West Monroe Street, Chicago, Illinois 60606, or such other counsel that may be
               substituted by Daubenspeck.

In determining whether to accept Advanced Equities’ and Daubenspeck’s Offers, the Commission
has considered Advanced Equities’ undertakings in paragraphs 63.a-e and Daubenspeck’s
undertakings in paragraph 66, above.




                                                  14
        Case 4:21-cv-02154-PJH Document 1-2 Filed 03/26/21 Page 16 of 19




                                               IV.

       In view of the foregoing, the Commission deems it appropriate and in the public interest to
impose the sanctions agreed to in the Respondents’ Offers.

       Accordingly, pursuant to Section 8A of the Securities Act, Section 15(b) of the Exchange
Act and Sections 203(e) and 203(f) of the Investment Advisers Act it is hereby ORDERED that:

       A.      Advanced Equities

               1.      Respondent Advanced Equities shall cease and desist from committing or
               causing any violations and any future violations of Sections 17(a)(2) and 17(a)(3)
               of the Securities Act.

               2.     Respondent Advanced Equities is censured.

               3.      Respondent Advanced Equities shall, within 30 days of the entry of this
               Order, pay a civil money penalty of $1,000,000 to the United States Treasury. If
               timely payment is not made, additional interest shall accrue pursuant to 31 U.S.C.
               3717. Payment must be made in one of the following ways:

                      (1)     Respondent may transmit payment electronically to the
                      Commission, which will provide detailed ACH transfer/Fedwire
                      instructions upon request;

                      (2)     Respondent may make direct payment from a bank account via
                      Pay.gov through the SEC website at
                      http://www.sec.gov/about/offices/ofm.htm; or

                      (3)    Respondent may pay by certified check, bank cashier’s check, or
                      United States postal money order, made payable to the Securities and
                      Exchange Commission and hand delivered or mailed to:

                              Enterprise Services Center
                              Accounts Receivable Branch
                              HQ Bldg., Room 181, AMZ-341
                              6500 South MacArthur Boulevard
                              Oklahoma City, OK 73169

               Payments by check or money order must be accompanied by a cover letter
               identifying Advanced Equities, Inc. as a Respondent in these proceedings, and the
               file number of these proceedings; a copy of the cover letter and check or money
               order must be sent to Robert J. Burson, Senior Associate Regional Director,
               Division of Enforcement, Securities and Exchange Commission, 175 West Jackson
               Blvd., Suite 900, Chicago, Illinois 60604.



                                                15
Case 4:21-cv-02154-PJH Document 1-2 Filed 03/26/21 Page 17 of 19




     4.    Respondent Advanced Equities shall comply with the undertakings
     enumerated in Section III, paragraphs 62.a-i and 64, above.

B.   Badger

     1.      Respondent Badger shall cease and desist from committing or causing any
     violations and any future violations of Sections 17(a)(2) and 17(a)(3) of the
     Securities Act.

     2.      Respondent Badger be, and hereby is, barred from association with any
     broker, dealer, investment adviser, municipal securities dealer or transfer agent
     with the right to reapply for reentry after one (1) year to the appropriate self-
     regulatory organization, or if there is none, to the Commission.

     3.      Any reapplication for association by Respondent Badger will be subject to
     the applicable laws and regulations governing the reentry process, and reentry
     may be conditioned upon a number of factors, including, but not limited to, the
     satisfaction of any or all of the following: (a) any disgorgement ordered against
     the Respondent, whether or not the Commission has fully or partially waived
     payment of such disgorgement; (b) any arbitration award related to the conduct
     that served as the basis for the Commission order; (c) any self-regulatory
     organization arbitration award to a customer, whether or not related to the conduct
     that served as the basis for the Commission order; and (d) any restitution order by
     a self-regulatory organization, whether or not related to the conduct that served as
     the basis for the Commission order.

     4.      Respondent Badger shall pay a civil money penalty in the amount of
     $100,000 to the United States Treasury. Payment shall be made in the following
     installments: $30,000 to be paid within thirty (30) days after entry of this Order and
     the remaining $70,000 to be paid in ten (10) equal installments of $7,000 on the last
     day of each month from October 31, 2012 until July 31, 2013. If any payment is
     not made by the date the payment is required by this Order, the entire outstanding
     balance of civil penalties, plus any additional interest accrued pursuant to 31 U.S.C.
     3717, shall be due and payable immediately, without further application. Payments
     must be made in one of the following ways:

              (1)     Respondent may transmit payments electronically to the
              Commission, which will provide detailed ACH transfer/Fedwire
              instructions upon request;

              (2)     Respondent may make direct payments from a bank account via
              Pay.gov through the SEC website at
              http://www.sec.gov/about/offices/ofm.htm; or




                                      16
Case 4:21-cv-02154-PJH Document 1-2 Filed 03/26/21 Page 18 of 19




            (3)    Respondent may pay by certified check, bank cashier’s check, or
            United States postal money order, made payable to the Securities and
            Exchange Commission and hand delivered or mailed to:

                    Enterprise Services Center
                    Accounts Receivable Branch
                    HQ Bldg., Room 181, AMZ-341
                    6500 South MacArthur Boulevard
                    Oklahoma City, OK 73169

     Payments by check or money order must be accompanied by a cover letter
     identifying Dwight O. Badger as a Respondent in these proceedings, and the file
     number of these proceedings; a copy of the cover letter and check or money order
     must be sent to Robert J. Burson, Senior Associate Regional Director, Division of
     Enforcement, Securities and Exchange Commission, 175 West Jackson Blvd., Suite
     900, Chicago, Illinois 60604.

C.   Daubenspeck

     1.      Respondent Daubenspeck be, and hereby is, suspended from association in
     a supervisory capacity with any broker, dealer, investment adviser, municipal
     securities dealer or transfer agent for a period of twelve (12) months, effective on
     the second Monday following the entry of this Order.

     2.     Respondent Daubenspeck, shall, within thirty (30) days of the entry of this
     Order, pay a civil money penalty in the amount of $50,000 to the United States
     Treasury. If timely payment is not made, additional interest shall accrue pursuant
     to 31 U.S.C. 3717. Payment must be made in one of the following ways:

            (1)     Respondent may transmit payment electronically to the
            Commission, which will provide detailed ACH transfer/Fedwire
            instructions upon request;

            (2)     Respondent may make direct payment from a bank account via
            Pay.gov through the SEC website at
            http://www.sec.gov/about/offices/ofm.htm; or

            (3)    Respondent may pay by certified check, bank cashier’s check, or
            United States postal money order, made payable to the Securities and
            Exchange Commission and hand delivered or mailed to:

                    Enterprise Services Center
                    Accounts Receivable Branch
                    HQ Bldg., Room 181, AMZ-341
                    6500 South MacArthur Boulevard
                    Oklahoma City, OK 73169

                                      17
Case 4:21-cv-02154-PJH Document 1-2 Filed 03/26/21 Page 19 of 19




      Payments by check or money order must be accompanied by a cover letter
      identifying Keith G. Daubenspeck as a Respondent in these proceedings, and the
      file number of these proceedings; a copy of the cover letter and check or money
      order must be sent to Robert J. Burson, Senior Associate Regional Director,
      Division of Enforcement, Securities and Exchange Commission, 175 West Jackson
      Blvd., Suite 900, Chicago, Illinois 60604.

      3.      Respondent Daubenspeck shall comply with the undertaking enumerated
      in Section III, paragraph 65, above.


By the Commission.



                                                 Elizabeth M. Murphy
                                                 Secretary




                                     18
